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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE

  KEVIN SMITH,

                        Plaintiff,
                                        Civil No. 18-5088-RMB-KMW
              v.

  BURLINGTON COUNTY, et al.,

                        Defendants.


                        AMENDED SCHEDULING ORDER

           This Scheduling Order confirms the directives given to
 counsel during the telephone status conference held on March 16,
 2020; and the Court noting the following appearances: Justin C.
 Bonus, Esquire, and Gabriel P. Harvis, Esquire, appearing on behalf
 of the plaintiff; and John L. Slimm, Esquire, and Daniel Gee,
 Esquire, appearing on behalf of defendant Burlington County;
 Michael R. Sarno, Esquire, appearing on behalf of defendant
 Burlington County Prosecutor’s Office; and Assistant U.S. Attorney
 Ben Kuruvilla, appearing on behalf of defendant Shawn Gorlin, and
 for good cause shown:

            IT IS this 16th day of March, 2020, hereby ORDERED:

           1. All deadlines set forth in the January 10, 2020
 Scheduling Order are hereby STAYED.

            2. The Court will conduct a telephone status conference
 on April 28, 2020 at 3:00 p.m.       Counsel for plaintiff shall
 initiate the telephone call.

            3. Any application for an extension of time beyond the
 deadlines set herein shall be made in writing to the undersigned
 and served upon all counsel prior to expiration of the period
 sought to be extended, and shall disclose in the application all
 such   extensions   previously   obtained,  the   precise   reasons
 necessitating the application showing good cause under FED. R. CIV.
 P. 16(b), and whether adversary counsel agree with the application.
 The schedule set herein will not be extended unless good cause is
 shown.
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           THE FAILURE OF A PARTY OR ATTORNEY TO OBEY THIS ORDER
 MAY RESULT IN IMPOSITION OF SANCTIONS UNDER FED. R. CIV. P.
 16(f).



                                      s/ Karen M. Williams
                                      KAREN M. WILLIAMS
                                      United States Magistrate Judge

 cc:   Hon. Renee Marie Bumb, U.S.D.J.
